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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN
In re:

RYAN GOODACRE,                                         Case Number: 07-02212-jtg
                                                       Chapter 7
                   Debtor,                             Hon. John T. Gregg

                                                       /

RYAN LANCASTER,
FKA RYAN GOODACRE,

                   Plaintiff,

         vs.                                           Adv. Proc. No. 16-80315-jtg

EDUCATIONAL FINANCIAL SERVICES, A
DIVISION OF WELLS FARGO BANK, N.A.,

                   Defendant.
                                                       /

                           PROPOSED REPORT OF PARTIES’ RULE 26(F) CONFERENCE

     Pursuant to Fed. R. Bankr. P. 7026 and Fed. R. Civ. P. 26(f), a conference was held on
December 22, 2017, and was participated in by:

                   Austin Smith, attorney for Plaintiff;
                   Joshua Kons, attorney for Plaintiff;
                   Emily Palacios, attorney for Defendants; and
                   Ronald Spinner, attorney for Defendants.

This is submitted as the required report of that conference.

    (1) Initial Disclosures required by Fed. R. Civ. P 26(a)(1).

         [ ] The parties will provide such by January 5, 2018; or
         [X] The parties agree to provide the following at the times indicated:

                   February 1, 2018.

    (2) Discovery Plan. The parties jointly propose to the Court the following discovery plan in
        conformance with Fed. R. Civ. P. 26(f)(3):

               (a) Discovery will be needed on the following subjects:



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              Plaintiff will seek documents and information related to all factual allegations set
              forth in Plaintiff’s complaint that were not admitted by Defendants that relate to the
              loans at issue and documents and information related to the affirmative defenses
              asserted by Defendant.

              Defendant will seek documents and information relating to Plaintiff’s student loan
              debt, documents and information relating to Defendant’s use of disbursed student
              loan amounts, and documents and information relating to the state court collection
              action, among other matters.

              (b) All discovery commenced in time to be completed by July 27, 2018.

              (c) Maximum of 25 interrogatories by each party to any other party served and
              responded to as required by the Federal Rules of Civil Procedure.

              (d) Maximum of 25 requests for admission served and responded to as required by the
              Federal Rules of Civil Procedure.

              (e) Maximum of 3 depositions per side; additional depositions only with leave of
              court.

              (f) Each deposition limited to maximum of 7 hours unless extended by agreement of
              parties.

              (g) If Plaintiff seeks to use expert testimony, he must designate his expert(s) by
              March 28, 2018. If Plaintiff designates one or more experts, Defendant must
              designate any experts it wishes to use by April 28, 2018. Plaintiff’s expert reports (if
              any) are due by May 28, 2018. Defendant’s expert reports (if any) are due by June
              18, 2018.

              (h) Supplementation under Fed. R. Civ. P. 26(e) as required by the Federal Rules of
              Civil Procedure.

     (3) Discovery of electronically stored information

                   (i) This adversary proceeding may involve the discovery of electronically stored
                   information

                   (ii) documents may be produced in any customary format including PDF, TIFF,
                   JPEG.

    (4) Claims of Privilege. As required and allowed by Federal Rules of Civil Procedure, and
        Federal Rules of Evidence.

    (5) Other Agreed Upon Items.

              (a) All potentially dispositive motions must be filed on or before August 24, 2018


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              (b) The trial date will be set at least six weeks after the close of discovery to allow the
                  parties adequate time to prepare. The proceeding will be ready for trial by
                  September 28, 2018. The trial is not expected to take more than two days, and
                  may take less than a day.

              (c) Jury Trial Matters.
                         (i)     [X] a jury trial was not timely demanded and is waived; or

                                  [ ] a jury trial was timely demanded, but is waived; or

                                  [ ] a jury trial was timely demanded but not waived.

                          (ii)    [ ] the parties consent to the Bankruptcy Court conducting the jury
                                  trial; or

                                   [ ] the parties do not at this time consent to the Bankruptcy Court
                                  conducting the jury trial.

                (d) The parties agree that:
                         [X] This is a core proceeding; or
                         [ ] This is a non-core proceeding otherwise related to the bankruptcy case.

                (e) [X] The parties consent to the Bankruptcy Court entering a final order or
                    judgment in this proceeding; or

                     [ ] The parties do not consent to the Bankruptcy Court entering a final order or
                     judgment in this proceeding.

    (6) Other matters. None.

    (7) Matters not agreed upon or insufficiently addressed by the foregoing. None.


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    DATED: January 4, 2018




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